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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

Erin Montgomery & Fred Montgomery,             :
Individually & as h/w                          :
708 Belmont Rd.                                :
Fairless Hills, PA 19030                       :   NO.: 15-1840
                                               :
                              Plaintiffs,      :
       v.                                      :
                                               :
                                               :
Andrea Neale, et al.                           :   JURY TRIAL DEMANDED
d/b/a Rider University                         :
2083 Lawrenceville Rd.                         :
Lawrenceville, NJ 08648                        :
                              Defendants.      :

                                            STIPULATION

       AND NOW this ______________ day of _____________, 2015, it is hereby

STIPULATED and AGREED, by and between all pertinent parties, by and through their

undersigned counsel, that Plaintiff is granted leave to file an Amended Complaint with 14 days

from the date of entry of the below order.



/s/ Matthew B. Weisberg                            /s/ Carla N. Dorsi
Matthew B. Weisberg, Esquire                       Carla N. Dorsi, Esquire
Attorney for Plaintiffs                            Attorney for Defendants, Rider University,
                                                   et al.


       AND IT IS SO ORDERED.

                                                   _______________________________
                                                                                 J.
